                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                        *
                                                *
                         v.                     *     Case No. 8:18-cr-00157-TDC
                                                *
LEE ELBAZ,                                      *
                                                *
                                                *
                                                *
                                                *
                                                *

       MEMORANDUM OF DEFENDANT LEE ELBAZ IN RESPONSE TO THE
         COURT’S ORDER CONCERNING INADVERTENT DISCLOSURE

       Defendant Lee Elbaz (“Ms. Elbaz”) respectfully submits this memorandum in response to

the Court’s December 14, 2018 order regarding the Government Filter Team’s putative

inadvertent disclosure of privileged material to government counsel responsible for investigating

Ms. Elbaz (the “Prosecution Team”). For reasons explained herein, given the Filter Team’s

unsatisfactory explanation of its privilege review process and how the inadvertent disclosure

occurred, an evidentiary hearing is necessary to determine whether the Filter Team’s review

procedures adequately safeguarded Ms. Elbaz’s rights.

                                       BACKGROUND

       On December 6, 2018, the Filter Team alerted Ms. Elbaz that privileged documents were

inadvertently made “accessible” to the Prosecution Team. (See ECF 110, Ex. D (Ltr. from D.

Stier to J. Chun, dated Dec. 6, 2018.)) Specifically, the Filter Team revealed that approximately

10,000 privileged documents had been made accessible to the Prosecution Team and that

members of the Prosecution Team had “viewed” or “clicked on” at least twelve privileged

documents. (Id. at 1.)




                                               1
       Of particular concern are “viewed” documents involving counsel from Orrick, Ms.

Elbaz’s former defense counsel, which discuss Ms. Elbaz, the investigations of the binary

options market, and legal strategy. These documents are clearly protected by attorney-client

privilege and attorney work product protections, and their inadvertent disclosure raises serious

concerns about the review protocol used by the Filter Team. The Filter Team does not provide

adequate explanation that the methods employed by the Filter Team have sufficiently protected

Ms. Elbaz’s rights, including her Sixth Amendment right to counsel. As such, Ms. Elbaz

respectfully requests that the Court schedule an evidentiary hearing to examine the adequacy of

the Filter Team’s review protocol and to determine the full nature and extent of any prejudice to

Ms. Elbaz resulting from this inadvertent production of privileged documents.

                                         ARGUMENT

I.     AN EVIDENTIARY HEARING IS WARRANTED TO EXAMINE THE
       ADEQUACY OF THE FILTER TEAM’S REVIEW PROTOCOL

       Given the Filter Team’s unsatisfactory explanation of its privilege review process and

how the inadvertent disclosure occurred, an evidentiary hearing is necessary to determine

whether the Filter Team’s review procedures adequately safeguarded Ms. Elbaz’s rights.

“Whether an evidentiary hearing is necessary is left to the sound discretion of the district court

judge.” Dukes v. United States, No. CIV. RWT 09-135, 2010 WL 152048, at *1 (D. Md. Jan.

13, 2010). And when, as here, questions arise regarding the inadvertent disclosure of privileged

and/or confidential documents, courts often exercise their discretion to hold a hearing, taking

time to examine these critical issues closely. See, e.g., United States v. Bundy, No. 3:16-CR-

00051-BR, 2016 WL 8856696, at *1 (D. Or. Sept. 14, 2016) (holding evidentiary hearing so that

the government could “explain how the inadvertent disclosure of nonresponsive evidence

occurred”); United States v. Koerber, No. 2:09-CR-302 CW, 2011 WL 2174355, at *1 (D. Utah



                                                2
June 2, 2011) (evidentiary hearing “on topics including the efforts [defendant and his attorneys]

made to respond to the IRS subpoena and the steps they took to prevent inadvertent disclosure of

attorney-client privileged documents in that production”).

       In this case, an evidentiary hearing is necessary to provide Ms. Elbaz and the Court with

adequate insight into the Filter Team’s processes and procedures, which presently remain too

opaque to gauge their adequacy. In such circumstances, an evidentiary hearing is an appropriate

preliminary remedy because it is tailored to address the lingering questions raised by the Filter

Team’s review protocol and inadvertent production, and it does not infringe on any government

interests. See United States v. Morrison, 449 U.S. 361, 367–68 (1981) (“Cases involving Sixth

Amendment deprivations are subject to the general rule that remedies should be tailored to the

injury suffered from the constitutional violation and should not unnecessarily infringe on

competing interests.”). Indeed, although explanations in the Filter Team’s Memorandum address

some questions raised by the inadvertent disclosure of privileged materials, serious questions

remain unanswered.

       First, the Filter Team has not identified what search terms it used to create the master list

of “Potentially Privileged Material” or to filter the subset of “Other Potentially Privileged

Material.” ECF 110, at 2–3 (Mem. of the United States of America (Filter Team) In Response to

Court’s Ord. Concerning Inadvertent Disclosure at 2.) The Filter Team asserts that, to create the

list of Potentially Privileged Material, key word searches were used “to isolate communications

involving known attorneys or law firms and to segregate communications that could contain

information or material subject to a claim of attorney-client privilege or work-product

protection,” but in doing so provides no insight on what key words were used, how this list was

created, and what procedure was employed to determine whether documents pinging those terms




                                                 3
would or could be subject to privilege or work-product claims. (ECF 110 at 2.) Similarly, the

Filter Team also failed to provide the search terms used to filter the “Other Potentially Privileged

Material” subset. Such information is vital to understanding the adequacy of the Filter Team’s

protocol because, based on the Filter Team’s description of its process, it appears that if a

document did not hit any search terms for either the “Potentially Privileged Material” or “Other

Potentially Privileged Material,” the document was produced to the Prosecution Team with no

further review. If the Filter Team’s search terms did not include any of Ms. Elbaz’s former

counsel, for example, this procedure would be woefully inadequate to prevent privileged

information from reaching the Prosecution Team. And this concern is not unfounded, given that

emails containing the names and email addresses of Ms. Elbaz’s former attorneys at Orrick are

among those documents that were inadvertently produced.

       Second, the Filter Team does not fully explain what data fields these search terms were

run through (e.g., full text and meta-data fields; if both, what meta-data fields). No such

information is provided for the creation of the master “Potentially Privileged Materials” list or

the filtering of the “Other Potentially Privileged Materials” subset. Moreover, although the Filter

Team provides certain information about the filtering used to create the “Elbaz Potentially

Privileged Materials,” such information reveals that the Filter Team’s procedures were highly

truncated. According to the Filter Team, they apparently only searched “to” and “from” data

fields to identify privileged materials directly involving Ms. Elbaz, ECF 110 at 2, but such search

strategy would likely miss privileged emails where Ms. Elbaz was a participant further down in

the email chain or referenced in the body of the email.

       Third, it is unclear from the Filter Team’s Memorandum when it decided to run Hebrew

search terms across the document collection. (See ECF 110 at 4, n.3.) As a threshold matter, it




                                                 4
is troubling that the Filter Team describes its use of Hebrew search terms as being done only

“out of an abundance of caution,” when such terms ought to have been part of its review plan as

a matter of course, given the Government’s knowledge that Ms. Elbaz lived and worked in Israel,

and thus regularly communicated in Hebrew. Indeed, it is unclear from the Filter Team’s

memorandum whether it employed Hebrew search terms at the outset of its review or whether

these terms were only used later after the Filter Team learned of problems with its review. If the

Filter Team used Hebrew search terms only after learning of inadvertent disclosures, its review

protocol would be plainly deficient in protecting Ms. Elbaz’s rights, and Ms. Elbaz is entitled to

know whether any similar inadvertent disclosures could have occurred.

       Furthermore, although the Filter Team claims that “its procedures were described in a

letter” to Ms. Elbaz’s counsel (ECF 110 at 2), that letter does little more than inform counsel that

the Filter Team is reviewing “various accounts from Google for communications with attorneys

that were sent or received by Ms. Elbaz.” (ECF 110, Ex. A (Ltr. from D. Stier to A. Spiro, dated

July 6, 2018).) It provides no detail about how the review occurred or what safeguards were in

place to ensure that privileged material did not reach the Prosecution Team. (See id.) Rather, the

Filter Team simply declared that it “reviewed these documents to determine whether they were

protected by the attorney-client privilege or the work product doctrine.” (ECF 110 at 2.)

       In short, these lingering questions regarding the methods and means used by the Filter

Team raise serious concerns about the fundamental fairness of their review. That is important

because courts give “at least some consideration to the taint team’s effect on the ‘appearance of

fairness.’”   United States v. Jackson, No. CR.A.07-0035(RWR), 2007 WL 3230140, at *5

(D.D.C. Oct. 30, 2007) (internal citation omitted); see also United States v. Neill, 952 F. Supp.

834, 841 n.14 (D.D.C. 1997) (“there is no doubt that, at the very least, the ‘taint team’




                                                 5
procedures create an appearance of unfairness”); In re Search Warrant for Law Offices Executed

on Mar. 19, 1992, 153 F.R.D. 55, 59 (S.D.N.Y. 1994) (“The appearance of Justice must be

served. . . . It is a great leap of faith to expect that members of the general public would believe

that any such Chinese wall would be impenetrable; this notwithstanding our own trust in the

honor of an AUSA.”). The lack of transparency into the Filter Team’s review process is

particularly concerning where Ms. Elbaz’s communications with counsel are entitled to the

presumption of privilege. See United States v. Pedersen, No. 3:12-CR-00431-HA, 2014 WL

3871197, at *31 (D. Or. Aug. 6, 2014) (recommending that filter team guidelines “should forbid

the intentional review of any presumptively privileged materials,” including “any private

communication between a defendant and members of his or her current or former legal teams”).

       In short, the Filter Team’s explanations of its procedures and protocols for what search

terms were run and when, how it filtered “Other Potentially Privileged Material,” and how it

determined whether documents were protected by attorney-client privilege or the work-product

doctrine are not satisfactory. An evidentiary hearing is therefore required to determine whether

the Filter Team adequately performed its duties.

II.    AN EVIDENTIARY HEARING IS WARRANTED TO DETERMINE THE
       EXTENT OF PREJUDICE CAUSED BY THE INADVERTENT DISCLOSURE
       OF PRIVILEGED MATERIAL

       An evidentiary hearing is also warranted to determine what level of prejudice has been

caused to Ms. Elbaz as a result of the Filter Team’s inadvertent production.

       “The paramount purpose of a taint team is to prevent the disclosure of privileged

information to the government and to protect the attorney-client privilege.” Pedersen, 2014 WL

3871197, at *29 (internal citation omitted). This is so because “if an investigating officer or a

prosecutor receives a defendant’s confidential trial strategy, the probability of prejudice from a

Sixth Amendment violation is much higher than with other types of state intrusions into the


                                                   6
attorney-client relationship.” State v. Bain, 292 Neb. 398, 412, 872 N.W.2d 777, 787 (2016); see

also Briggs v. Goodwin, 698 F.2d 486, 494–95 (D.C. Cir. 1983), vacated on other grounds 712

F.2d 1444 (D.C. Cir. 1983) (“Mere possession by the prosecution of otherwise confidential

knowledge about the defense’s strategy or position is sufficient in itself to establish detriment to

the criminal defendant.”).

       Indeed, a Sixth Amendment violation occurs when a defendant “suffers substantial

prejudice [from the disclosure of privileged communications], such as where . . . the prosecution

obtains the defense plans and strategy . . . .” United States v. SDI Future Health, Inc., 464 F.

Supp. 2d 1027, 1048 (D. Nev. 2006). When determining whether an invasion of the attorney-

client privilege has violated the Sixth Amendment, courts consider factors including:

       (1) whether the presence of the informant was purposely caused by the
       government in order to garner confidential, privileged information, or whether the
       presence of the informant was a result of other inadvertent occurrences; (2)
       whether the government obtained, directly or indirectly, any evidence which was
       used at trial as a result of the informant’s intrusion; (3) whether any other
       information gained by the informant’s intrusion was used in any other manner to
       the substantial detriment of the defendant; and finally, (4) whether the details
       about trial preparation were learned by the government.

United States v. Brugman, 655 F.2d 540, 546 (4th Cir. 1981). Here, given the vague information

provided by the Filter Team regarding the inadvertent disclosure, it is impossible to determine to

what extent Ms. Elbaz has been prejudiced by the Prosecution Team’s learning details of her trial

strategy.

       As an initial matter, the Filter Team’s explanation for the number of privileged

documents that were “viewed” on its review platform is not satisfying. (See ECF 110 at 5, n.6.)

Although the Government explains that a document is “viewed” when it is “opened,” the

undersigned’s understanding of review tools is that a document can be viewed on a review

platform even without “opening” it, and, therefore, the Government may be understating the



                                                 7
number of privileged documents that were visible and reviewable by investigators (who could

see the document on their monitors by clicking over to it, but without clicking on it to “open” it

in a separate viewing pane) and the potential prejudice to Ms. Elbaz.

       This issue is not merely an academic exercise, especially because it appears that a

substantial number of privileged documents sent to or from Ms. Elbaz were provided to the

prosecution, on top of thousands of putatively third party privileged documents. Of the 10,416

documents that the Filter Team believes were accessible to the Prosecution Team, approximately

9,500 were “Other Potentially Privileged Materials,” meaning that approximately 1,000

documents were potentially privileged documents sent to or received by Ms. Elbaz (which the

Government refers to as “Elbaz Potentially Privileged Materials”). (See id. at 6, n.7 (“The Filter

Team also determined that a number of the documents were Other Potentially Privileged

Materials and therefore also inadvertently produced to the Defendant. The Filter Team provided

a list of those documents, around 9,500, and requested that the Defendant segregate them.”).)

Based on the explanation offered, it is not clear how many of the more than 10,000 privileged

documents could have been visible to members of the Prosecution Team even if they did not

technically “open” them on their computers, thus exposing Ms. Elbaz to additional prejudice. At

an evidentiary hearing, the Government should be required to produce the testimony of its

technical advisor to clearly explain the methods it used in determining the number of privileged

documents that were “viewed” and whether other privileged documents were visible in any other

way to government investigators.1



1
    As another example of the critical importance of this issue, consider the fact that among the
Potentially Privileged Documents available to the Prosecution Team was a memorandum sent to
Ms. Elbaz’s counsel at Orrick from cooperating-counsel in Israel that contained specific
responses to false accusations and/or erroneous statements of fact in the original Complaint filed
in this action. (See DOJ-ELBAZ-0001666439.)


                                                8
       Moreover, it is not clear who comprised the so-called “Prosecution Team” and whether

any of the inadvertently produced materials were visible to other individuals who nonetheless

had access to and/or input (either directly or indirectly) on the development of Ms. Elbaz’s case

or related prosecutions. The Filter Team’s memorandum of law indicates that the privileged

documents were accessible to investigators apart from the Prosecution Team but does not

identify everyone who had such access. The Filter Team asserts that no member of the

Prosecution Team reads Hebrew, but what about other members of the broader team

investigating binary options who had access to these privileged documents and could have been

in a position to communicate their contents to the Prosecution Team either directly or indirectly?

The Filter Team should be required to identify all investigative personnel who accessed the

privileged documents, the dates on which they accessed the documents, their roles in the case,

and whether the substance of their review of the privileged documents was communicated either

directly or indirectly to the Prosecution Team.

       What is more, the review of the documents known to have been accessed by the

Prosecution Team created prejudice to Ms. Elbaz. While Ms. Elbaz is continuing to review these

materials (23 documents in total, 11 of which were identified for the first time in the

Government’s submission yesterday, and 8 of which the Government previously asserted were

subject to a third party privilege until yesterday), 2 of particular concern are the two documents

with the subject line “Lee Elbaz – Common Interest Communication” that include

communications from Ms. Elbaz’s former counsel at Orrick to Israeli counsel. (See DOJ-




2
  The Filter Team also produced for the first time yesterday a full log of the 10,416 privileged
documents.


                                                  9
                                                                                         3
ELBAZ-0001666632; DOJ-ELBAZ-0001666654 (ECF 110, Ex. G-6, G-7).)                              These

communications are clearly covered not only by attorney-client privilege but also but work-

product productions. See In re Grand Jury Subpoena, 341 F.3d 331, 335 (4th Cir. 2003) (“When

the attorney-client privilege applies, ‘it affords confidential communications between lawyer and

client complete protection from disclosure.’”) (internal citation omitted); Black & Decker Corp.

v. United States, 219 F.R.D. 87, 91 (D. Md. 2003) (“The work product doctrine protects from

disclosure documents ‘prepared in anticipation of litigation or for trial by or for another party or

by or for that other party’s representative.’”) (citing Fed. R. Civ. P. 26(b)(3)); see also United

States v. Nobles, 422 U.S. 225, 236–38 (1975) (applying the work-product doctrine to criminal

litigation).

        The Filter Team admits that these documents were reviewed, at the very least, by one

prosecutor assigned to the Government’s binary options investigation. While the Filter Team

contends that there is no prejudice to Ms. Elbaz because the prosecutor does not read or speak

Hebrew, this position ignores the fact that the vital communications detailing Ms. Elbaz’s former

counsel’s litigation strategy are in English.            These communications “reflect[] an

attorney’s thoughts, such as impressions, theories, or conclusions” and are clearly protected from

disclosure by the work-product doctrine. Koch v. Specialized Care Servs., Inc., 437 F. Supp. 2d

362, 384 (D. Md. 2005) (internal citations and quotations omitted).          Any access to these


3
    In its December 6, 2018 correspondence, the Filter Team identified an attachment to an
inadvertently disclosed and reviewed Orrick communication. (See ECF 110, Ex. D at 1–2, n.1.)
While the Filter Team claims this attachment was not viewed by anyone on the Investigative
Team, it is not clear who comprised the so-called Investigative Team, whether this team is
distinct from the Prosecution Team, and whether the substance of the attachment was reviewed
by any non-Filter Team members. The attachment outlines Ms. Elbaz’s former counsel’s
specific investigative work strategy, is highly prejudicial, and further demonstrates why an
evidentiary hearing is necessary to resolve these unanswered questions. While the Filter Team
did not provide this document with its submission, the undersigned will provide it for in camera
review should the Court request.


                                                10
privileged and confidential documents by non-Filter Team members is highly prejudicial to Ms.

Elbaz. See Brugman, 655 F.2d at 546 (Sixth Amendment violation may occur when “details

about trial preparation were learned by the government”).

       Although no Prosecution Team members may personally have “accessed” this privileged

material on the document review platform, the Filter Team has not provided a sufficient

explanation about what, if anything, happened to this privileged information after it was accessed

by non-Filter Team members. The same concerns apply to the other privileged materials that

were accessed by Prosecution Team members, including a paralegal and the Fraud Unit’s

Assistant Chief, Tracee Plowell. The Filter Team’s assertion that these documents “do not

appear to involve the solicitation or provision of legal advice and therefore do not appear to be

privileged” provides little comfort when Ms. Elbaz has no visibility into the Filter Team’s

process, including how the Filter Team determined whether communications with attorneys were

privileged. (ECF 110 at 15.) Thus, an evidentiary hearing is necessary to determine what

prejudice has occurred as a result of the Filter Team’s inadvertent disclosure.

       Finally, an evidentiary hearing is also appropriate given that the Government questions

that certain materials at issue here are covered by the “common interest” privilege. (ECF 110 at

15 (referring to Exs. G-6, 7 & H-6, 7 (email chains involving attorneys from both Orrick and

Israeli law firms).) This privilege, an extension of the attorney-client privilege, “allows persons

with a common interest in litigation to communicate with their attorneys and with each other

without waiving the attorney-client privilege.” Prowess, Inc. v. Raysearch Labs. AB, No. CIV.

WDQ-11-1357, 2013 WL 509021, at *5 (D. Md. Feb. 11, 2013) (citing In re Grand Jury

Subpoenas      89–3        &     89–4,    902     F.2d    244,     249     (4th    Cir.    2005)).

“[A]   proponent      of   the   joint   defense/common interest privilege must   establish   that




                                                 11
when communications were shared among individuals with common legal interests, the act of

sharing was part of an ongoing common legal enterprise.” Neuberger Berman Real Estate

Income Fund, Inc. v. Lola Brown Tr. No. 1B, 230 F.R.D. 398, 416 (D. Md. 2005) (internal

citation and quotations omitted). Here, the Defendant was in common interest with Yukom and

Linkopia, including in October 2017, and her attorneys and those representing Yukom and

Linkopia were, at least at that point, “sharing [information as] part of an ongoing common legal

enterprise,” with all involved sharing the “common legal interest[ ]” of avoiding criminal

convictions under U.S. law related to their work in binary options. (Id.) Should the Government

continue to dispute that reality (which should be plain to the prosecutors given their purported

knowledge of the relevant facts in this matter), Ms. Elbaz stands ready to present evidence to the

Court in order to establish this privilege’s applicability.

                                          CONCLUSION

        For the foregoing reasons, Ms. Elbaz respectfully request that this Court exercise its

discretion to conduct an evidentiary hearing into the adequacy of the Filter Team’s review

protocol and any prejudice resulting from the inadvertent disclosure.



Date: December 18, 2018                        Respectfully submitted,



                                                Alex Spiro
                                                John Chun
                                                QUINN EMANUEL URQUHART &
                                                SULLIVAN, LLP
                                                51 Madison Avenue, 22nd Floor
                                                New York, New York 10010-1601
                                                (212) 849-7000

                                                Counsel for Defendant Lee Elbaz




                                                  12
                                CERTIFICATE OF SERVICE


       I hereby certify that on December 18, 2018, I caused to be electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will notify counsel

for the government of the filing.




                                                 John Chun




                                            13
